                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                           DOCKET NO. 3:07-CR-00061-FDW-16


 UNITED STATES OF AMERICA                        )
                                                 )
        vs.                                      )
                                                 )
 CALVIN MAURICE SIMONDS,                         )                   ORDER
                                                 )
                Defendant.                       )
                                                 )
                                                 )
                                                 )

       THIS MATTER comes now before the Court upon Defendant’s Motion for Review of

Detention Order (Doc. No. 185), filed on September 17, 2007. In his motion, Defendant seeks to

have his detention revoked, arguing that he is not a member of the gang alleged in the Indictment.

However, on October 15, 2007, Defendant pleaded guilty to a violation of 21 U.S.C. § 846, for

which the minimum term of imprisonment is ten years. Under this Court’s ruling in United States

v. Moffit, No. 3:06-cr-00066, 2006 WL 3240752, at *1-2, a guilty plea that is accepted by a

magistrate judge qualifies as being “found guilty.” Thus, applying the Bail Reform Act of 1984,

Defendant has been found guilty of an “offense for which a maximum term of imprisonment of ten

years or more is prescribed in the Controlled Substances Act (21 U.S.C. § 801 et. seq).” 18

U.S.C.A. § 3142(f)(1)(C) (West 2007). The result is that this Court must, by statute, detain

Defendant. 18 U.S.C.A. § 3143(a)(2) (West 2007). Defendant’s Motion is therefore denied.

       IT IS SO ORDERED.                      Signed: October 30, 2007




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